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   11                        UNITED STATES DISTRICT COURT
   12        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13

   14 ROSE MCGOWAN,                                Case No. 2:19-cv-09105-ODW (GJS)
   15               Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                   DEFENDANTS DAVID BOIES AND
   16        v.                                    BOIES SCHILLER FLEXNER
                                                   LLP’S MOTION TO DISMISS
   17 HARVEY WEINSTEIN, et al.,

   18               Defendants.
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                                                              Case No. 2:19-cv-09105-ODW (GJS)
        [PROPOSED] ORDER GRANTING DEFENDANTS DAVID BOIES AND BOIES SCHILLER FLEXNER LLP'S
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    1                                   [PROPOSED] ORDER
    2            Defendants David Boies and Boies Schiller Flexner LLP’s (collectively, the
    3 “BSF Defendants”) Motion to Dismiss Plaintiff’s Complaint, brought pursuant to

    4 Federal Rule of Civil Procedure 12(b)(6), came before this Court for hearing on

    5 May 11, 2020, at 1:30 p.m., the Honorable Otis D. Wright II presiding. Having

    6 considered all papers, pleadings, and evidence submitted, and the oral argument

    7 presented, and good cause appearing, the Court finds as follows:

    8                       Count One—Civil RICO, 18 U.S.C. § 1962(c)
    9            The Court dismisses Count One and finds:
   10            No “pattern of racketeering activity.” Plaintiff fails to state a RICO claim
   11 because Defendants’ alleged “pattern of racketeering activity” has neither “closed-

   12 ended” nor “open-ended” continuity. Turner v. Cook, 362 F.3d 1219, 1229 (9th Cir.

   13 2004).

   14            No standing. Plaintiff lacks standing to bring her RICO claim because she
   15 does not allege a non-speculative injury that is (i) compensable under RICO

   16 (Canyon Cty v. Syngenta Seeds, Inc., 519 F.3d 969, 975 (9th Cir. 2008)); and (ii)

   17 directly caused by the alleged racketeering activity. Hemi Group, LLC v. City of

   18 New York, 559 U.S. 1, 9 (2010).
   19            No allegations that the BSF Defendants “operated” or “managed” the
   20 “racketeering enterprise.” Plaintiff fails to state a RICO claim because she has

   21 not alleged that the BSF Defendants “operated” or “managed” (or “directed” or

   22 “controlled”) the RICO enterprise, which is required to hold legal professionals

   23 liable under RICO. Reves v. Ernst & Young, 507 U.S. 170, 184 (1993); see Walter

   24 v. Drayson, 538 F.3d 1244, 1248-49 (9th Cir. 2008); see Baumer v. Pachl, 8 F.3d

   25 1341, 1344 (9th Cir. 1993).

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    1             Count Two—Civil RICO Conspiracy, 18 U.S.C. § 1962(d)
    2        The Court dismisses Count Two and finds:
    3        No substantive RICO violation. Because Plaintiff’s substantive RICO claim
    4 fails, her RICO conspiracy claim fails as well. Sanford v. MemberWorks, Inc., 625

    5 F.3d 550, 559 (9th Cir. 2010) (“plaintiffs cannot claim that a conspiracy to violate

    6 RICO [pursuant to 18 U.S.C. § 1962(d)] existed if they do not adequately plead a

    7 substantive violation of RICO”) (citation omitted).

    8                Count Three—Federal Wiretap Act, 18 U.S.C. § 2520
    9        The Court dismisses Count Three and finds:
   10        No secondary liability. Plaintiff fails to state a claim against the BSF
   11 Defendants under the Electronic Communications Privacy Act because the ECPA

   12 does not impose secondary liability for those who “procure[] any other person to

   13 intercept, disclose, or use” communications covered by the Act. See Kirch v.

   14 Embarq Management Co., 702 F.3d 1245, 1246-47 (10th Cir. 2012); Doe v. GTE

   15 Corp., 347 F.3d 655, 659 (7th Cir. 2003); Peavy v. WFAA-TV, Inc., 221 F.3d 158,

   16 169 (5th Cir. 2000).

   17        The recordings complied with the ECPA. Plaintiff’s ECPA claim fails
   18 because the ECPA permits recordings where the person recording the
   19 communication “is a party to the communication.” 18 U.S.C. § 2511(2)(d).

   20 Plaintiff admits that Black Cube—a party to the communications—consented to the

   21 recording. And Plaintiff offers no facts to indicate anyone made any recording “for

   22 the purpose of committing any criminal or tortious act.” Id.; see also Sussman v.

   23 Am. Broad. Cos., 186 F.3d 1200, 1201-02 (9th Cir. 1999).

   24         Count Four (Fraudulent Deceit, Cal. Civ. Code § 1709) and Count Five
   25                                (Common Law Fraud)
   26        The Court dismisses Counts Four and Five and finds:
   27        No compensable damages. Plaintiff fails to state a claim for statutory or
   28 common law fraud because she alleges no monetary losses and emotional distress
      603215797.1                            2              Case No. 2:19-cv-09105-ODW (GJS)
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    1 damages are only compensable in connection with monetary harm. All. Mortg. Co.

    2 v. Rothwell, 10 Cal. 4th 1226, 1240 (1995); Nagy v. Nagy, 210 Cal. App. 3d 1262,

    3 1269 (1989).

    4                           Count Six—Bane Act (Cal. Civ. Code § 52.1)
    5            The Court dismisses Count Six and finds:
    6            No speech that threatened violence. Plaintiff’s Bane Act claim fails
    7 because she does not allege that any Defendant “interfered with” or “attempted to

    8 interfere with” her constitutional rights “by threats, intimidation, or coercion.” Cal.

    9 Civ. Code § 52.1(a)-(b). Nor does she allege that any Defendant used speech to

   10 “threaten” violence, or that she reasonably feared physical violence would be

   11 committed against her by a person who had the apparent ability to do so. Id. at §

   12 52.1(k).

   13                    Count Eight—Computer Crimes (Cal. Penal Code § 502)
   14            The Court dismisses Count Eight and finds:
   15            No causality. Plaintiff’s Section 502 claim fails because it confuses the
   16 causality requirement in Section 502(c)(1), erroneously alleging that Defendants

   17 engaged in “a scheme or artifice to defraud” in order to gain access to Plaintiff’s

   18 manuscript on her computer (Compl., ¶¶ 192-95), instead of accessing the data “in
   19 order to . . . defraud, deceive, or extort,” as the statute requires.

   20            No “access” “without permission” in California. Plaintiff’s claim is further
   21 barred in California because Plaintiff expressly alleges that Defendants’ “access” in

   22 California was with her permission. The only “access” she alleges occurred without

   23 her permission took place in New York, and Section 502 does not apply

   24 extraterritorially. Terpin v. AT&T Mobility, LLC, 399 F. Supp. 3d 1035, 1047-48

   25 (C.D. Cal. 2019).

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    1                                  Count Nine—Conversion
    2            The Court dismisses Count Nine and finds:
    3            No complete dispossession of Plaintiff’s property. Plaintiff’s conversion
    4 claim fails under New York and California law because she has not alleged that any

    5 Defendant “exercise[d] [ ] unauthorized dominion and control” of her manuscript to

    6 her “complete exclusion.” Harper & Row Publishers, Inc. v. Nation Enters., 723

    7 F.2d 195, 199, 201 (2d Cir. 1983), rev’d on other grounds, 471 U.S. 539 (1985);

    8 Jurisearch Holdings, LLC v. Lawriter, LLC, 2009 WL 10670588, at *7 (C.D. Cal.

    9 Apr. 13, 2009).

   10                     Count Ten—Intentional Infliction of Emotional Distress
   11            The Court dismisses Count Ten and finds:
   12            Insufficient factual showing of claims outside the statute of limitations.
   13 Plaintiff’s IIED claim fails because she seeks to recover for conduct that occurred

   14 outside the two-year statute of limitations and she fails to plead application of the

   15 “discovery rule.” Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 806-07

   16 (2005).

   17                     Count Eleven—Negligent Hiring and Supervision
   18            The Court dismisses Count Eleven and finds:
   19            No breach of duty or proximate cause. Plaintiff’s claim for negligent hiring
   20 and supervision fails because she has not alleged that the BSF Defendants breached

   21 any duty to hire/supervise properly, or that negligent hiring and supervision was the

   22 proximate cause of a foreseeable harm. Phillips v. TLC Plumbing, Inc., 172 Cal.

   23 App. 4th 1133, 1139-40 (2009).

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    1            IT IS THEREFORE ORDERED that the BSF Defendants’ Motion to
    2 Dismiss Plaintiff’s Complaint is GRANTED.

    3            Because leave to amend would be futile given these legal defects, Plaintiff’s
    4 Complaint is DISMISSED WITH PREJUDICE.

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    6            IS IT SO ORDERED.
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    8 DATED:____________, 2020

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   11
                                                   Hon. Otis D. Wright II
   12                                              United States District Court Judge
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        603215797.1                             5              Case No. 2:19-cv-09105-ODW (GJS)
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